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RMS TITANIC, INC.

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R. B. SMITH
June 20, 2023 SENIOR U.S. DISTRICT. JUDGE, NORFOLK, VA

VIA HAND DELIVERY

The Hon. Rebecca Beach Smith

United States District Court for the Eastern District of Virginia
Walter E. Hoffman Courthouse

600 Granby Street

Norfolk, Virginia 23510

RE: R.M.S. Titanic, Inc. v. The Wrecked and Abandoned Vessel, Civil Action No. 2:93-cv-902
(E.D. Va. Norfolk Div.)

Dear Judge Smith:

With regret, | write to advise the Court of disturbing news from the wreck site of the
TITANIC. A submersible, owned and operated by OceanGate Expeditions and carrying five persons
on board, has gone missing while diving to the wreck. The vessel lost contact with the submersible
approximately an hour and a half into their dive on Sunday, June 18, 2023. The United States,
Canada, France, and United Kingdom have been working to mobilize a massive search and rescue
mission.

The identities of the five submersible crew members have recently been disclosed in the
news media as Hamish Harding, a U.K. citizen; Shahzada Dawood and his son Sulaiman Dawood,
both Pakistani citizens; Stockton Rush, the President and CEO of OceanGate Expeditions; and Paul
Henri Nargeolet, the famous French diver, now a United States citizen, employee of RMS Titanic,
inc., dear friend to the undersigned, and well familiar to the Court.

As you are aware, PH loves Titanic and loves expeditions to learn new things at the wreck
site. The Company openly supported his working with Oceangate to fulfil his passion, and he has
lent his expertise to Oceangate for multiple missions up to and including this one. No one has more
experience at the wreck site than PH, and no one has a better chance of navigating through
equipment failures than he does. We remain hopeful.

While we are devastated by this news, we have been working to provide any and all
information and coordination to support the US Coast Guard in their search. We hope and pray for
the safe rescue of all passengers and will continue to update the Court as we learn more
information.

  
 

ssica Sanders, President
MS Titanic, Inc.
cc: Brian A. Wainger, Esq.

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